                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:15-cr-18
  v.                                             )
                                                 )        Judge Travis R. McDonough
  DILLON CHAMPION                                )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the five-

 count Indictment; (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count one of the Indictment, that is of conspiracy to distribute a mixture and substance

 containing a detectable amount of marijuana, a Schedule I controlled substance, in violation of

 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (3) adjudicate Defendant guilty of the lesser

 offense of the charge in Count One of the Indictment, that is of conspiracy to distribute a mixture

 and substance containing a detectable amount of marijuana, a Schedule I controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (4) defer a decision on whether to

 accept the plea agreement until sentencing; and (5) release Defendant on bond under appropriate

 conditions of release pending sentencing in this matter. (Doc. 93.) Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with

 the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Doc. 93), pursuant to 28 U.S.C. §

 636(b)(1), and ORDERS as follows:



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       1) Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment is

          GRANTED;

       2) Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

          Indictment that is of conspiracy to distribute a mixture and substance containing a

          detectable amount of marijuana, a Schedule I controlled substance, in violation of 21

          U.S.C. §§ 846, 941(a)(4), and 841(b)(1)(D) is ACCEPTED;

       3) Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in County

          One of the Indictment, that is of conspiracy to distribute a mixture and substance

          containing a detectable amount of marijuana, a Schedule I controlled substance, in

          violation of 21 U.S.C. §§ 846, 941(a)(4), and 841(b)(1)(D);

       4) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

          and

       5) Defendant SHALL REMAIN on bond under appropriate conditions of release

          pending sentencing in this matter which is scheduled to take place on July 15, 2016

          at 2:00 p.m. [EASTERN] before the undersigned.

 SO ORDERED.

                                            /s/Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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